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7
8                               UNITED STATES DISTRICT COURT
9                              NORTHERN DISTRICT OF CALIFORNIA

10   SCOTT JOHNSON,                              )    Case No.: 5:20-CV-06177-BLF
                                                 )
11                    Plaintiff,                 )    NOTICE OF SETTLEMENT AND
                                                 )    REQUEST TO VACATE ALL
12                                               )    CURRENTLY SET DATES
          v.                                     )
13                                               )
     LLT TRADING, LLC, a California              )
14   Limited Liability Company; and              )
                                                 )
15   Does 1-10,                                  )
                                                 )
16                   Defendant.                  )
17          The plaintiff hereby notifies the court that a provisional settlement has been
18   reached in the above-captioned case. The Parties would like to avoid any additional
19   expense while they focus efforts on finalizing the terms of the settlement and reducing it
20   to a writing. The plaintiff, therefore, applies to this Honorable Court to vacate all
21   currently set dates with the expectation that the settlement will be consummated within
22   the coming sixty (60) days, allowing for a Joint Stipulation for Dismissal with prejudice
23   to all parties to be filed.
24
25   Dated: November 17, 2020               CENTER FOR DISABILITY ACCESS
26                                                   /s/ Amanda Seabock
                                                     Amanda Seabock
27                                                   Attorney for Plaintiff
28


     Notice of Settlement                 -1-                    5:20-CV-06177-BLF
